    Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 1 of 16 PageID #:2286




                          IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION


ALAN CARLSON & PETER DELUCA
                                                            Case No. 13-cv-2635
                          Plaintiffs,
                                                            District Court Judge Andrea R. Wood
                 v.

NORTHROP GRUMMAN
CORPORATION and the NORTHROP
GRUMMAN SEVERANCE PLAN,

                          Defendants.



      DEFENDANTS’ BRIEF IN SUPPORT OF THEIR MOTION FOR SUMMARY
                  JUDGMENT ON STANDARD OF REVIEW

        Plaintiffs Alan Carlson and Peter DeLuca (“Plaintiffs”), two former employees of a

subsidiary of Northrop Grumman Corporation, allege that they were improperly denied

severance benefits under the Northrop Grumman Severance Plan in violation of the Employee

Retirement Income Security Act of 1974. Because the governing plan documents provide the

plan administrators full discretionary authority to, inter alia, decide whether individuals qualify

as plan participants, construe and interpret the terms of the plan, and decide whether participants

satisfy the plan’s eligibility requirements, their decision to deny Plaintiffs’ claims is entitled to

the highest level of deference and may only be overturned to the extent it was arbitrary and

capricious.1




1
  At the July 11, 2016 hearing after the Court issued its opinion and order denying Defendants’ motion to dismiss,
the Court invited the parties to submit a motion for partial summary judgment on the standard of review in advance
of the regular dispositive motion schedule. Accordingly, the instant motion addresses only this issue. Defendants
reserve their right to move for summary judgment on the merits at a later date.

                                                        1
     Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 2 of 16 PageID #:2286




I.       STATEMENT OF FACTS

         A.      Plan Structure

         Northrop sponsors a number of employee benefit plans designed to provide Northrop’s

employees various retirement, health, and welfare benefits. Prior to 2012, these plans included

two separate severance benefit plans: (1) The Northrop Grumman Electronic Systems Sector

Employee Security & Protection Plan (the “ES&PP Plan”); and (2) The Northrop Grumman

Severance Plan. (Statement of Facts (“SUF”) ¶ 1.) The respective terms of these two plans were

set forth in separate “summary plan documents” that served as both the official plan documents

and summary plan descriptions. (Id. at ¶ 2.) However, in 2012, Northrop decided to consolidate

the two separate severance plans into a single plan by creating a “wrap” plan document that

incorporated the two plans as separate “component plans” or benefit “programs.” (Id. at ¶ 3.)

This consolidated severance plan, which was formally adopted on December 15, 2011 and has

been in effect since January 1, 2012, is referred to as the Northrop Grumman Severance Plan,

ERISA Plan Number 673 (“the Plan”). (Id.) It is this Plan which governs Plaintiffs’ claims

here.2

         The terms of the Plan are set forth in the “wrap” plan document (“the Wrap Plan”) and

two separate “component” plan documents.3 (Id. at ¶¶ 3-6, 11.) The Wrap Plan contains general

information related to the purpose of the Plan, identifies the Plan’s participants, delegates and

describes plan administrative responsibilities, and establishes the procedure by which the Plan

may be terminated or amended. (Id. at ¶ 5.) It does not, however, set forth “the specific

2
  Plaintiffs’ employment with Northrop was terminated in 2012 as part of a reduction-in-force. (Dkt. #62, Am.
Cmpl. ¶¶ 3, 12.)
3
  The Component Plan document also incorporates an appendix containing specific information regarding the cash
portion of the severance benefits plaintiffs are entitled to receive. This appendix, however, is not relevant for
purposes of this motion and has not been included as an exhibit.

                                                       2
  Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 3 of 16 PageID #:2286




severance benefits provided under the Plan.” (Id.) These terms are described in the separate

component plan documents, which the Wrap Plan incorporates by reference. (Id.; Declaration of

Jim Kemp, Exhibit A, Wrap Plan Document, at NGC00338, NGC00341 (“Accordingly, all of the

terms and provisions of each of the Component Plans . . . are incorporated herein by

reference[.]”).) These component plan documents were amended and restated in 2012 to reflect

the new plan structure.       (SUF ¶ 4; see also infra note 8 (describing component plan

amendments).) Of the two separate component plans identified by the Wrap Plan, only the

“Northrop Grumman Severance Plan” component (“the Component Plan”) is at issue in this case.

       B.      Plan Administration

       The terms of the Plan related to its administration and the plan administrator’s authority

are primarily set forth in the Wrap Plan, which designates Northrop’s Chief Human Resources

and Administrative Officer as the “Plan Administrator.” (SUF ¶ 6.) Under the Plan, the Plan

Administrator is responsible for performing all necessary administrative duties except for

reviewing appeals challenging the Plan Administrator’s denial of claims for plan benefits. (Id. at

¶ 7.) That responsibility is vested in the Northrop Grumman Corporate Severance Plan Review

Committee (referred to in the Wrap Plan as the “Administrative Committee”), which is

comprised of three members appointed by either the Plan Administrator or Northrop’s Chief

Executive Officer. (Id.)

       The Wrap Plan further provides that when carrying out their respective duties, the Plan

Administrator and the Administrative Committee have “the full discretionary power to

administer the Plan in all of its details” and that “[a]ll interpretations, findings, and decisions of

the Plan Administrator and Administrative Committee, as applicable, shall be final and




                                                  3
  Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 4 of 16 PageID #:2286




conclusive.” (Id. at ¶ 8.) In particular, the Wrap Plan provides that the Plan Administrator and

the Administrative Committee have “full discretionary authority” to, inter alia:

       (b) Determine eligibility of Employees to participate in the Plan.

       (f) Construe and interpret the terms of the Plan, including the power to remedy
       possible ambiguities, inconsistencies or omissions.

       (g) Determine the amount of benefits and eligibility for benefits.

       (n) Decide all questions concerning the Plan, including making findings of fact.

(Id. at ¶ 9.) The Plan Administrator’s and the Administrative Committee’s broad grant of

discretionary authority is similarly described in the Component Plan, which provides that the

Plan Administrator is “vested with all power and authority necessary or appropriate to administer

the Plan on behalf of [Northrop].” (Id. at ¶ 10.) The Component Plan also provides that “[t]he

Plan Administrator, the administrator, and Corporate Severance Plan Review Committee shall

have sole absolute discretion over claims and appeals issue and determinations regardless of the

timing of such determination or exercise of such discretion.” (Id.)

       C.      The Claims Procedure

       Under the Plan, if an employee believes he is entitled to severance benefits, he must

submit a formal claim for benefits to the Plan Administrator. The procedures for submitting and

deciding claims for plan benefits are set forth in the Component Plan document, which, in

accordance with ERISA, establishes a two-tiered claims procedure. (Id. at ¶ 11; 29 C.F.R. §

2560.503-1(h) (“Every employee benefit plan shall establish and maintain a procedure by which

a claimant shall have a reasonable opportunity to appeal an adverse benefit determination to an

appropriate named fiduciary of the plan[.]”).) First, within 90 days of being terminated, an

employee or his authorized representatives must file a written claim with the Plan Administrator

that sets forth the reasons why he believes he is entitled to benefits. (Id. at ¶ 12.) If the claim is

                                                  4
  Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 5 of 16 PageID #:2286




denied, the employee will receive a letter from the Plan Administrator explaining the reasons for

the denial. (Id.) The employee then has 60 days to file an appeal with the Administrative

Committee. (Id.) If the employee chooses to appeal, the Administrative Committee will meet,

consider all materials submitted by the claimant in connection with his appeal, and render a

decision in writing. (Id.) This decision is final and can only be challenged by filing suit in

federal court.

       D.        Plaintiffs’ Administrative Claims

       On August 3, 2012, Northrop terminated Plaintiffs’ employment as part of a reduction-in-

force of employees in their program within Northrop’s Technical Services Sector. (Id. at ¶ 13.)

On August 20, 2017 and August 27, 2017, respectively, plaintiffs Carlson and DeLuca submitted

their claims for severance benefits to the Plan Administrator. (Id. at ¶ 14.) In both letters,

Plaintiffs contended that the decision by their management not to provide severance in

connection with the reduction-in-force to which they were subject was improper because

severance had been offered in connection with prior lay-offs. (Id.)

       Plaintiffs’ claims were reviewed by Margaret Collins, Corporate Director for Retirement

Administration, Compliance and Services, on behalf of the Plan Administrator. (Id. at ¶ 15.) On

November 9, 2012, Collins responded to Plaintiffs and explained that as stated in the Component

Plan, a laid-off employee is only eligible for severance benefits if he receives a memorandum

from the Vice-President of Human Resources (or his or her designee) designating the employee

as eligible. (Id.) Collins contacted both Carlson’s and DeLuca’s managers and confirmed that

neither had received an eligibility memorandum. (Id.) Accordingly, Collins informed Plaintiffs

that their claims were denied. (Id.)




                                                5
    Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 6 of 16 PageID #:2286




        DeLuca and Carlson subsequently appealed the denial of their claims to the

Administrative Committee on December 2, 2012 and January 3, 2013, respectively. (Id. at ¶ 16.)

Both argued on appeal that the denial of severance was improper because the Plan did not set

forth a uniform standard or policy for determining which employees would receive a severance

eligibility memorandum. (Id.) Thus, according to Plaintiffs, their managers’ refusal to provide

them an eligibility memorandum was arbitrary and capricious and violated ERISA. (Id.)

        On January 31, 2013, the Administrative Committee met to discuss and decide Plaintiffs’

appeals. (Id. at ¶. 17.) At this meeting, the Administrative Committee reviewed the appeals

letters and exhibits submitted by Plaintiffs, as well as a memorandum prepared by Collins that

summarized Plaintiffs’ claims, explained the reasons for her initial claim denial, and

recommended that the Administrative Committee deny Plaintiffs’ appeals. (Id. at ¶¶ 16-17.)

Collins’ memorandum noted that the Plan “does not require that the Company establish a policy,

whether written or unwritten, with regard to the determination of whether a terminated employee

will receive a memorandum and thus be eligible for benefits under the Plan.” (Id.; Collins Decl.,

Exhibit H, Appeals Memorandums, NGC00097, NGC00290.) Collins explained the Plan was

designed so that the company, through its Vice-President of Human Resources (or that

individual’s designee), had discretion to award severance on a “case by case basis.”4 (Id.) The

Administrative Committee concluded that it was permissible under ERISA for it to apply the

terms of the Plan requiring a severance memorandum and that the company had the discretion to

determine which employees would receive a memorandum. (Id. at ¶ 19.) Furthermore, the

Administrative Committee determined that enforcing the Plan’s memorandum requirement



4
 Collins pointed out, for example, that the company and its managers could determine whether severance was
appropriate “based on the particular circumstances surrounding the individual’s termination of employment” or on
“more broadly based, contract driven factors.” (Collins Decl., Exhibit H, at NGC00097.)

                                                        6
    Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 7 of 16 PageID #:2286




would not violate ERISA. (Id.) Accordingly, the Administrative Committee voted unanimously

to deny Plaintiffs’ appeals. (Id.) Plaintiffs subsequently filed this suit.

II.     ARGUMENT

        Ever since the Supreme Court’s decision in Firestone Tire and Rubber Co. v. Bruch, 489

U.S. 101 (1989), it has been axiomatic that where an employee benefit plan provides its plan

administrators and fiduciaries discretionary authority to interpret plan terms and decide

participants’ claims, those interpretations and decisions are entitled to deference and can only be

overturned if arbitrary and capricious.            As the Supreme Court has often pointed out, this

deferential approach is grounded in sound public policy: by allowing plan administrators to

interpret their own plans, courts ensure that disputes are resolved efficiently, predictably, and

uniformly, thereby incentivizing employers to create benefit plans in the first place.                        See

Conkright v. Frommert, 559 U.S. 506, 517 (2010) (“Congress sought ‘to create a system that is

[not] so complex that administrative costs, or litigation expenses, unduly discourage employers

from offering [ERISA] plans in the first place.’”) (quoting Varity Corp. v. Howe, 516 U.S. 489,

497 (1987)). Here, the terms of the Plan as set forth in both the Wrap Plan and Component Plan

clearly and expressly provide the Administrative Committee unqualified discretionary authority

to decide claims and interpret the Plan to the fullest extent possible under ERISA. Accordingly,

the Administrative Committee’s interpretation of the Plan and its denial of Plaintiffs’ claims is

entitled to the highest level of deference and should be reviewed under the arbitrary and

capricious standard.5



5
  In the context of a claim under 29 U.S.C. § 1132(a)(1)(B), the court reviews the final, post-appeal decision
rendered by the plan administrator or fiduciary tasked with deciding appeals because “[t]o focus elsewhere would be
inconsistent with ERISA’s exhaustion requirement.” Funk v. CIGNA Grp. Ins., 648 F.3d 182, 191 n.11 (3d Cir.
2011), abrogated on other grounds by Montanile v. Bd. of Trustees of Nat’l Elevator Indus. Health Benefit Plan, ---
U.S. ---, 136 S.Ct. 651 (2016).

                                                        7
    Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 8 of 16 PageID #:2286




         A.       The Arbitrary and Capricious Standard Applies

         The Seventh Circuit has explained that the applicable standard of review for district

courts in deciding claims under 29 U.S.C. § 1132(a)(1)(B) turns on the language of the plan

documents.6 Raybourne v. Cigna Life Ins. Co. of New York, 576 F.3d 444, 448 (7th Cir. 2009)

(“A central question in this appeal is whether this court should review Cigna’s decision de novo,

as Raybourne argues, or as Cigna argues, for abuse of discretion. The answer hinges on the

language of the plan documents.”). Where the plan documents provide a plan administrator

discretion to interpret plan terms and decide claims for benefits, those interpretations and

decisions are reviewed under the “arbitrary and capricious” standard.                             Jenkins v. Price

Waterhouse Long Term Disability Plan, 564 F.3d 856, 860-61 (7th Cir. 2009); Wetzler v. Illinois

CPA Soc. & Foundation Retirement Income Plan, 586 F.3d 1053, 1057 (7th Cir. 2009). Here,

the language of the governing plan documents—the January 2012 restatement of the Wrap Plan

and the January 2012 restatement of the Component Plan—leaves no doubt that in adopting the

Plan, Northrop wanted to ensure that the Plan Administrator and the Administrative Committee

had unfettered discretion when it came to carrying out their respective administrative

responsibilities.7

         The broad authority and significant discretion afforded to the Plan Administrator and the

Administrative Committee is described in detail in the Wrap Plan. In particular, Section 4.08 of

the Wrap Plan expressly provides that “[t]he Plan Administrator and Administrative Committee,

in the exercise of their responsibilities, shall have the full discretionary power to administer the

6
  In cases where a plan has been periodically amended and restated, the iteration that controls whether the
administrator had discretion, and therefore must be afforded deference, is the one in effect at the time the benefits
were denied. Hackett v. Xerox Corp. Long-Term Disability Income Plan, 315 F.3d 771, 774 (7th Cir. 2003).
7
  The unfettered discretion of management to decide who receives a severance memorandum is not at issue in this
brief and does not fall within the scope of the Court’s review in a case under 29 U.S.C. § 1132(a)(1)(B).
Nonetheless, the Seventh Circuit has been very clear that it does not violate ERISA for a plan to provide company
management absolute discretion to determine which employees are eligible to participate in an employee benefit
plan. McNab v. General Motors Corporation, 162 F.3d 959 (7th Cir. 1998).

                                                           8
  Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 9 of 16 PageID #:2286




Plan in all of its details[.]” (SUF ¶ 8; Kemp. Decl., Exhibit A, at NGC00346-47) (emphasis

added). That discretionary power, which is constrained only by the ERISA’s mandates and other

applicable laws, specifically includes, but is not limited to, the power to determine which

employees meet the eligibility requirements to participate in the Plan, construe and interpret the

terms of the Plan, determine eligibility for benefits, and decide all questions concerning the

Plan’s operation. (Kemp Decl., Exhibit A, at NGC00347-49.) The Plan also provides that when

exercising those broad powers, “[a]ll interpretations, findings, and decisions of the Plan

Administrator and Administrative Committee, as applicable, shall be final and conclusive.” (Id.

at NGC00347.) Leaving no doubt as to the Plan Administrator’s discretion, the Wrap Plan

additionally provides that “[t]he Plan Administrator is expressly empowered with the full and

final discretion to determine all of the following: (a) Whether and to what extent Employees are

eligible to become Participants under the Plan; [and] (b) The amount and types of benefits

Participants will receive under the Plan.” (Id. at NGC00345.)

       The Wrap Plan’s discretionary language is echoed by the summary description of that

authority in the Component Plan. In the section of the Component Plan describing the claims

procedure, it states that “[t]he Plan Administrator, the administrator, and Corporate Severance

Plan Review Committee shall have sole absolute discretion over claims and appeals issue[s] and

determinations regardless of the timing of such determinations or exercise of such discretion.”

(SUF ¶ 10, Kemp Decl., Exhibit C, at NGC00334) (emphasis added). The Component Plan

further states that “[t]he administrator is vested with all power and authority necessary or

appropriate to administer the Plan on behalf of the Plan Administrator, and he has full

discretionary authority in this capacity.” (Id.) (emphasis added).




                                                9
 Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 10 of 16 PageID #:2286




       Given the above language, which vests the Plan Administrator and the Administrative

Committee with complete discretionary authority to carry out their respective duties, the

Administrative Committee’s interpretation of the Plan and its decision to deny Plaintiffs’ claims

must be afforded the “highest level of deference,” which requires the Court to apply the

“arbitrary and capricious” standard. Exbom v. Central State, Southeast and Southwest Areas

Health and Welfare Fund, 900 F.2d 1138, 1142 (7th Cir. 1990) (“Courts facing a decision by a

trustee vested with th[e] highest level of discretion should review the trustee’s decision under a

standard embodying the highest level of deference. That standard is the arbitrary and capricious

standard.”). “Although it is an overstatement to say that a decision is not arbitrary and capricious

whenever a court can review the reason stated for the decision without a loud guffaw, it is not

much of an overstatement.” Russo v. Health, Welfare & Pension Fund, Local 705, Intern. Broth.

Of Teamsters, 984 F.2d 762, 766 (7th Cir. 1993) (quoting Pokratz v. Jones Dairy Farm, 771 F.2d

206, 209 (7th Cir. 1985)). As will be further shown in later briefing on summary judgment, the

Plan Administrator’s and the Administrative Committee’s interpretation of the Plan as requiring

an eligibility memorandum before awarding benefits is directly in line with the Plan’s verbatim

language. (See SUF ¶ 15 n.2.)

       Furthermore, courts have recognized that the deference afforded to a plan administrator

under the arbitrary and capricious standard extends not only to the ultimate decision to deny

benefits, but also to the underlying plan interpretations that support that decision. See Conkright,

559 U.S. at 517 (“Firestone deference . . . permit[s] an employer to grant primary interpretative

authority over an ERISA plan to the plan administrator, [thereby] preserv[ing] the ‘careful

balancing’ upon which ERISA is based.”); Wetzler, 586 F.3d at 1057 (“[A]n administrator’s

interpretation is given great deference and will not be disturbed if it is based on a reasonable



                                                10
  Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 11 of 16 PageID #:2286




interpretation of the plan’s language.”). Thus, the Court must defer to the Administrative

Committee’s interpretation of the Plan as requiring employees to receive a severance

memorandum before becoming eligible for benefits, and providing Northrop’s management,

through its Vice-President of Human Resources, the discretion to issue these memorandums on a

case-by-case basis.




        B.      Plaintiffs’ Attempt to Avoid the Arbitrary and Capricious Standard Fails

        In an effort to avoid the arbitrary and capricious standard, Plaintiffs have erroneously

argued that in deciding their appeals, the Administrative Committee did not possess the broad

discretionary authority set forth in the Wrap Plan, but instead was limited to the discretionary

language in the Component Plan, which Plaintiffs contend is more narrow. (Dkt. #109 at 2-3.)

Plaintiffs are wrong. Their efforts to avoid the Wrap Plan’s application are premised on both a

tortured interpretation of the Component Plan’s language as well as a fundamental

misunderstanding of the Plan’s structure. Moreover, even in the absence of the Wrap Plan, the

arbitrary and capricious standard of review would still govern because the language of the

Component Plan is clear in granting the Administrative Committee the discretion to decide

eligibility for benefits.

                1.          The Wrap Plan Governed Plaintiffs’ Claims

        The use of a “wrap plan” and a “component plan” as was used here is not a novel or

atypical arrangement. Indeed, courts have explicitly recognized their coordinated existence as

governing plan documents. See, e.g., Admin. Comm. of Wal-Mart Stores, Inc. Assocs.’ Health &

Welfare Plan v. Gamboa, 479 F.3d 538, 542 (8th Cir. 2007) (applying wrap plan’s discretionary



                                                  11
    Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 12 of 16 PageID #:2286




language and explaining that a wrap plan “provides the governing structure of the overall

[program] and describes the general procedures for determining participation, funding,

administration, and claims under each individual welfare program to be established by the

employer”); Werb v. Reliastar Life Ins. Co., No. 13-cv-0669, 2014 WL 2881468, at *6 (D. Minn.

June 25, 2014) (“Effective January 1, 2010, Goodrich rolled its various ERISA welfare-benefit

plans . . . into an overarching master plan that the parties refer to as the ‘wrap plan.’ . . . The

wrap plan grants discretionary authority to the plan administrator to interpret the plan and

determine eligibility for benefits.”). Plaintiffs’ suggestion that all of a plan’s terms must be set

forth in a single document, and that therefore the Component Plan must have superseded and

discharged the Wrap Plan, is contrary to controlling Seventh Circuit law. See Health Cost

Controls of Illinois, Inc. v. Washington, 187 F.3d 703, 712 (7th Cir. 1999) (“[O]ften the terms of

an ERISA plan must be inferred from a series of documents none clearly labeled as ‘the plan.’”).

         Ignoring the overall structure of the Plan and the Wrap Plan’s explicit language

incorporating the Component Plans,8 Plaintiffs obliviously argue that the Component Plan is an

entirely separate, “integrated” instrument that superseded and “discharge[d]” the terms of the

Wrap Plan. (Dkt. #109 at 2.) As support for this contention, Plaintiffs point to the Component

Plan’s statement that “[t]his summary plan description also constitutes the official ‘Plan’

document governing benefits; there are no other Plan documents that govern [participants’]

benefits,” as well as its statement that participants may “obtain copies of the combined Plan

document and summary plan description . . . upon written request to the Plan Administrator.” (Id.

at 3).

8
  The Wrap Plan provides as follows: “The Plan provides severance benefits under one or more benefit structures
referred to and defined herein as ‘Component Plans.’ . . . The specific severance benefits provided under the Plan are
described in the Component Plans. Accordingly, all of the terms and provisions of each of the Component Plans, as
the same may be modified from time to time as provided for in each of the Component Plans, are incorporated
herein by reference[.]” (Kemp Decl., Exhibit A, NGC00341.)

                                                         12
    Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 13 of 16 PageID #:2286




        While cherry-picking select statements in the Component Plan, Plaintiffs noticeably

ignore the terms of the Plan that clearly demonstrate it is comprised of more than one document.

For instance, the Component Plan document expressly states in its “Plan Identification” section

that “[t]he Plan is considered a component plan under a plan also named the Northrop Grumman

Severance Plan, ERISA plan number 673.” (Kemp Decl., Exhibit C, at NGC00335).                               The

Component Plan document further explains that “[t]his document serves as part of the official

Plan document and is the summary plan description for the Plan.” (Id.) (emphasis added). These

provisions, which were incorporated into the Component Plan only after the Wrap Plan was

created, are flat-out inconsistent with Plaintiffs’ contention that the Component Plan document is

a “fully-integrated” instrument that supersedes the terms of the Wrap Plan.9 Try as they might,

Plaintiffs cannot ignore the obvious connection between the Wrap Plan and the Component Plan.

Bland v. Fiatallis N. Am., Inc., 401 F.3d 779, 783 (7th Cir. 2005) (holding that under the rules of

contract construction applicable to ERISA plans, “a [plan] document should be read as a whole

with all its parts given effect, and related documents must be read together”).

        Further undermining Plaintiffs’ argument is the fact that the Component Plan’s statement

“there are no other Plan documents that govern [participants’] benefits” is entirely accurate. In

setting forth the Plan’s general administrative terms, the Wrap Plan explains that “[t]he specific

severance benefits provided under the Plan are described in the Component Plans.” (SUF ¶ 5).

Similarly, the Component Plan’s statement that “the combined Plan document and summary plan

description” may be obtained from the Plan Administrator is not inconsistent with the existence



9
 Prior to 2012, the Component Plan provided: “This document serves both as the official Plan document and the
summary plan description.” (Kemp Decl. 2010 Component Plan, Exhibit B, at NGC00238.) However, after the
adoption of the Wrap Plan in January 2012, the Component Plan was amended to state: “This document serves as
part of the official Plan document and is the summary plan description for the Plan.” (Kemp Decl., 2012 Component
Plan, Exhibit C, at NGC00335) (emphasis added).

                                                       13
     Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 14 of 16 PageID #:2286




of the Wrap Plan.         This statement simply identifies the Component Plan as one—but not

necessarily the only—plan document available from the Plan Administrator.

                 2.       The Component Plan Alone Necessitates the Arbitrary and Capricious
                          Standard of Review

         Plaintiffs’ attempt to argue around the Wrap Plan does them no good because the

discretionary authority in the Component Plan alone mandates the arbitrary and capricious

standard of review. As the Seventh Circuit has instructed on more than one occasion, there are

no “magic words” that must be used to effectively confer discretion on a plan administrator, nor

is it necessary to describe a plan administrator’s discretionary authority in exhaustive detail.

Herzberger v. Standard Ins. Co., 205 F.3d 327, 330 (7th Cir. 2000). Instead, all that is required

is that the plan put participants on notice that it reserves discretion for the administrator.10 Diaz

v. Prudential Ins. Co. of Am., 424 F.3d 635, 637 (7th Cir. 2005). The Component Plan’s

language, which is similar in brevity and functionally equivalent to the “safe harbor” language

commended by the Seventh Circuit, accomplishes this goal. See, e.g. Herzberger, 205 F.3d at

331 (“We . . . commend to employers the following ‘safe harbor’ language for inclusion in

ERISA plans: ‘Benefits under this plan will be paid only if the plan administrator decides in his

discretion that the applicant is entitled to them.’”). Plaintiffs cannot escape the notable similarity

between the Component Plan’s language and the Seventh Circuit’s suggested safe harbor

language. Thus, whether applying the language of the Wrap Plan or the Component Plan, this

Court may only overturn the Administrative Committee’s decision upon a finding that it was

arbitrary and capricious.

III.     CONCLUSION


10
  Notably, Plaintiffs have never pled, notwithstanding two complaints, that they were somehow misled by the
discretionary authority described in the Component Plan. Nor would that have any legal relevance to the standard of
review for this Court.

                                                        14
 Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 15 of 16 PageID #:2286




       In enacting ERISA, Congress sought to encourage employers to offer retirement and

welfare benefits by providing assurances that their benefit plans would not be construed by the

courts in unpredictable ways that might impose unanticipated liabilities. In furtherance of this

goal, the Supreme Court has consistently recognized employers’ right to grant their plan

administrators discretion to promulgate definitive interpretations of their plans and to decide

participants’ claims for benefits thereunder. Conkright, 559 U.S. at 517.         The paramount

importance of this right is front-and-center in cases such as this one—where individual plaintiffs

ask a court to bind an employer to a tortured interpretation of a plan that is directly contrary to

the employer’s intentions. This Court should foster the strong public policy noted by courts far-

and-wide that it is Plan Administrators, not the courts, that are best suited to interpret their

benefit plans, and should review the determinations here under the deferential arbitrary and

capricious standard.

Date: January 4, 2017                                Respectfully submitted,


                                                     /s/ Nancy G. Ross
                                                     Nancy G. Ross (6190243)
                                                     NRoss@mayerbrown.com
                                                     Laura Hammargren (6310920)
                                                     LHammargren@mayerbrown.com
                                                     Abigail M. Bartine (No. 6312317)
                                                     abartine@mayerbrown.com
                                                     MAYER BROWN LLP
                                                     71 South Wacker Drive
                                                     Chicago, IL 60606
                                                     Telephone:    312.782.0600
                                                     Facsimile:    312.701.7711

                                                     Attorneys for Northrop Grumman
                                                     Corporation and Northrop Grumman
                                                     Severance Plan




                                                15
 Case: 1:13-cv-02635 Document #: 169 Filed: 01/04/17 Page 16 of 16 PageID #:2286




                                 CERTIFICATE OF SERVICE

       The undersigned attorney hereby certifies that a true and correct copy of the foregoing

was served upon all parties of record via the Electronic Filing System of the U.S. District Court

for the Northern District of Illinois on January 4, 2017.

                                                            /s/ Nancy G. Ross
                                                            Nancy G. Ross




                                                 16
